           Case 1:23-cv-01625-MJM            Document 28      Filed 07/31/24     Page 1 of 8



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                       (Baltimore Division)

 FREEDOM SERVICES, INC.,                              *

            Plaintiff/Counter-Defendant,              *

  v.                                                  *   Case No.: 1:23-cv-01625-MJM

  FREEDOM SERVICES LLC                                *

            and                                       *

  JENNIFER STEADMAN,                                  *

            Defendants/Counter-Plaintiffs.

       *         *       *      *      *      *       *      *      *       *      *      *      *
       FREEDOM SERVICES, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO
             FREEDOM SERVICES LLC’S AMENDED COUNTERCLAIM

           Plaintiff/Counter-Defendant, Freedom Services, Inc. (“Plaintiff”), by and through its

undersigned counsel, hereby responds to the Amended Counterclaim filed by Defendant/Counter-

Plaintiff Freedom Services LLC (“Defendant”) and states as follows:

                                    NATURE OF COUNTERCLAIMS

           30.       Paragraph 30 of the Amended Counterclaim is a general incorporation of the

preceding 29 paragraphs of Defendant’s Amended Answer to Plaintiff’s First Amended Complaint

to which no response is required. To the extent an answer is required, Plaintiff denies the same.

           31.       Paragraph 31 of the Amended Counterclaim sets forth Defendant’s requested relief

to which no response is required. To the extent an answer is required, Plaintiff denies the same.
        Case 1:23-cv-01625-MJM         Document 28        Filed 07/31/24      Page 2 of 8



                                        THE PARTIES

        32.   Plaintiff is without sufficient information to admit or deny the allegations of

Paragraph 32 of the Amended Counterclaim, and therefore denies the same.

        33.   Plaintiff admits that it is a Maryland Corporation with a corporate office located at

1406 Shoemaker Road, Baltimore, MD 21209 and that it provides transportation services to

consumers under several trademarks, including “FREEDOMCAR.”

                               JURISDICTION AND VENUE

        34.   The allegations of Paragraph 34 of the Amended Counterclaim contain conclusions

of law to which no answer is required. To the extent an answer is required, Plaintiff denies the

same.

        35.   The allegations of Paragraph 35 of the Amended Counterclaim contain conclusions

of law to which no answer is required. To the extent an answer is required, Plaintiff denies the

same.

        36.   The allegations of Paragraph 36 of the Amended Counterclaim contain conclusions

of law to which no answer is required. To the extent an answer is required, Plaintiff denies the

same.

        37.   The allegations of Paragraph 37 of the Amended Counterclaim contain conclusions

of law to which no answer is required. To the extent an answer is required, Plaintiff denies the

same.

        38.   The allegations of Paragraph 38 of the Amended Counterclaim contain conclusions

of law to which no answer is required. To the extent an answer is required, Plaintiff denies the

same.




                                                2
        Case 1:23-cv-01625-MJM           Document 28         Filed 07/31/24      Page 3 of 8



                  FIRST AMENDED COUNTERCLAIM
  DECLARATORY JUDGEMENT OF NO ENFORCEABLE TRADEMARK RIGHTS
                IN FREEDOM OR FREEDOM SERVICES

        39.    Plaintiff incorporates each of the above responses as if fully set forth herein.

        40.    The allegations of Paragraph 40 of the Amended Counterclaim contain conclusions

of law to which no answer is required. To the extent an answer is required, Plaintiff denies the

same.

        41.    The allegations of Paragraph 41 of the Amended Counterclaim contain conclusions

of law to which no answer is required. To the extent an answer is required, Plaintiff denies the

same. Plaintiff is without sufficient information to admit or deny the remaining allegations of

Paragraph 41 of the Amended Counterclaim, and therefore denies the same.

        42.    Plaintiff admits that it began doing business under its incontestable federal

trademark registration “FREEDOMCAR” in or around 2010. The remaining allegations of

Paragraph 42 of the Amended Counterclaim contain conclusions of law to which no answer is

required. To the extent an answer is required, Plaintiff denies the same. All remaining allegations

and characterizations in Paragraph 42 of the Amended Counterclaim are denied.


                                     PRAYER FOR RELIEF

        43.    The allegations of Paragraph 43 of the Amended Counterclaim are a prayer for

relief to which no answer is required. To the extent an answer to the paragraph containing a prayer

for relief is required, it is denied. Furthermore, to the extent the allegations of Paragraph 43 of the

Amended Counterclaim are not deemed a prayer for relief, they contain conclusions of law to

which no answer is required. To the extent an answer is required, Plaintiff denies the same.

        44.    The allegations of Paragraph 44 of the Amended Counterclaim are a prayer for

relief to which no answer is required. To the extent an answer to the paragraph containing a prayer




                                                  3
        Case 1:23-cv-01625-MJM           Document 28         Filed 07/31/24      Page 4 of 8



for relief is required, it is denied. Furthermore, to the extent the allegations of Paragraph 44 of the

Amended Counterclaim are not deemed a prayer for relief, they contain conclusions of law to

which no answer is required. To the extent an answer is required, Plaintiff denies the same.

        45.     The allegations of Paragraph 45 of the Amended Counterclaim are a prayer for

relief to which no answer is required. To the extent an answer to the paragraph containing a prayer

for relief is required, it is denied. Furthermore, to the extent the allegations of Paragraph 45 of the

Amended Counterclaim are not deemed a prayer for relief, they contain conclusions of law to

which no answer is required. To the extent an answer is required, Plaintiff denies the same.

        46.     The allegations of Paragraph 46 of the Amended Counterclaim are a prayer for

relief to which no answer is required. To the extent an answer to the paragraph containing a prayer

for relief is required, it is denied.

        47.     The allegations of Paragraph 47 of the Amended Counterclaim are a prayer for

relief to which no answer is required. To the extent an answer to the paragraph containing a prayer

for relief is required, it is denied.

        48.     The allegations of Paragraph 48 of the Amended Counterclaim are a prayer for

relief to which no answer is required. To the extent an answer to the paragraph containing a prayer

for relief is required, it is denied.

        49.     The allegations of Paragraph 49 of the Amended Counterclaim are a prayer for

relief to which no answer is required. To the extent an answer to the paragraph containing a prayer

for relief is required, it is denied.

        To the extent any allegation contained in the Amended Counterclaim is not expressly

admitted, it is hereby denied.




                                                  4
       Case 1:23-cv-01625-MJM            Document 28        Filed 07/31/24      Page 5 of 8



                                  AFFIRMATIVE DEFENSES

       Plaintiff undertakes the burden of proof only as to those defenses deemed affirmative

defenses by law, regardless of how such defenses are denominated below. Plaintiff respectfully

reserves the right to plead additional affirmative defenses and other defenses should any such

defenses be revealed by discovery in this case. As and for its affirmative defenses and other

defenses, Plaintiff states as follows

                                        FIRST DEFENSE

       Defendant’s Amended Counterclaim fails to state claim upon which relief can be granted

because any third party use of the term FREEDOM in connection with passenger transportation

services is likely to confuse consumers as to the source of those services. FREEDOM SERVICE

and FREEDOMCAR were registered without disclaimer of the term FREEDOM. Defendant’s use

of “Freedom” and “Freedom Services” in connection with their transportation services has caused

and is likely to continue to cause consumer confusion, mistake, or deception as to the affiliation,

connection, sponsorship, or association of Defendants with Plaintiff’s transportation services.

                                        SECOND DEFENSE

       Defendant’s Amended Counterclaim claim is barred, in whole or in part, by the doctrine of

unclean hands. Defendant knew or should have known of the existence of Plaintiff and its use of

the terms FREEDOM SERVICES and FREEDOMCAR on a continuous basis since 1991 in

interstate commerce in connection with Plaintiff’s transportation services since Defendant’s

founding in 2019. When Defendant began using “Freedom” and “Freedom Services” in connection

with their transportation services, it was aware, or should have been aware, of Plaintiff’s prior use

and that its use of those terms would likely cause confusion among consumers. Despite this prior

knowledge, Defendant filed the Amended Counterclaim over four years after using “Freedom”




                                                 5
          Case 1:23-cv-01625-MJM         Document 28         Filed 07/31/24      Page 6 of 8



and “Freedom Services” in connection with their transportation services at great prejudice to

Plaintiff.

                                        THIRD DEFENSE

          Defendant’s Amended Counterclaim claim is barred by the status of limitations, laches,

and undue delay. Defendant knew or should have known of the existence of Plaintiff and its use

of the terms FREEDOM SERVICES and FREEDOMCAR on a continuous basis in interstate

commerce in connection with Plaintiff’s transportation services since Defendant’s founding in

2019. Given Defendant’s inaction, Plaintiff’s use of the terms FREEDOM SERVICES and

FREEDOMCAR in connection with Plaintiff’s transportation services since 1991, Plaintiff's

incontestable federal trademark registrations of “FREEDOMCAR” and “FREEDOM

SERVICES,” and Defendants’ knowledge of Plaintiff’s prior use, Defendant’s Counterclaim is

barred.

                                       FOURTH DEFENSE

          Defendant’s Amended Counterclaim claim is barred, in whole or in part, because Plaintiff

has not and will not sustain harm from the denial of the relief it seeks. Defendant’s Counterclaim

is redundant of Plaintiff’s trademark infringement action against Defendant. Defendant is

obligated to defend itself in that action. Conclusively, if Plaintiff action is successful, Defendant’s

Counterclaim becomes unnecessary.

          WHEREFORE, having fully answered, Plaintiff respectfully requests the Amended

Counterclaim be dismissed with prejudice, an award of its costs and attorneys’ fees incurred

herein, and for such further relief as the Court deems just and proper.




                                                  6
Case 1:23-cv-01625-MJM   Document 28    Filed 07/31/24       Page 7 of 8



Dated: July 31, 2024               Respectfully submitted,

                                   /s/ Sherry H. Flax.
                                   Sherry H. Flax, Esq. (Bar No. 03517)
                                   Austin G. Strine, Esq. (Bar No. 20637)
                                   Saul Ewing LLP
                                   1001 Fleet St., 9th Floor
                                   Baltimore, Maryland 21202
                                   (410) 332-8784 (Telephone)
                                   Sherry.Flax@saul.com
                                   Austin.Strine@saul.com

                                   Attorneys for Plaintiff
                                   Freedom Services, Inc.




                               7
       Case 1:23-cv-01625-MJM        Document 28       Filed 07/31/24   Page 8 of 8



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 31st day of July, 2024 a copy of the foregoing

Plaintiff/Counter-Defendant, Freedom Services, Inc.’s Answer and Affirmative Defenses to

Defendant/Counter-Plaintiff, Freedom Services LLC’s Amended Counterclaim was served

electronically by this Court’s CM/ECF system upon:

                             Brian A. Tollefson (Bar No. 16289)
                                      TOLLEFSON IP
                                    326 First Street, #202
                                 Annapolis, Maryland 21403
                                  (Phone): (443) 699-2450
                               Email: brian@tollefsonip.com

                                 Counsel for Defendants
                       Freedom Services, LLC and Jennifer Steadman


                                          /s/ Sherry H. Flax
                                          Sherry H. Flax




                                             8
